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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

IN RE PHARMACEUTICAL INDUSTRY
AVERAGE WHOLESALE PRICE
LITIGATION

MDL No. 1456
CIVIL ACTION: 01-CV-12257-PBS

Judge Patti B. Saris

THIS DOCUMENT RELATES TO:

State of Montana vy. Abbott Labs., Inc., et al.,
D. Mont. Cause No. CV-02-09-H-DWM

PLAINTIFF STATE OF MONTANA'S JOINDER IN CLASS PLAINTIFFS' MOTION
FOR LEAVE TO FILE REPLY BRIEF IN SUPPORT OF PLAINTIFFS' MOTION TO
COMPEL B. BRAUN OF AMERICA

Plaintiff State of Montana joins in the Class Plaintiffs’ Motion for Leave to File Reply

Brief in Support of Plaintiffs’ Motion to Compel B. Braun of America to Make Supplemental

30(b)(6) Designation and the Class Plaintiff's Reply brief itself, both of which were filed with

the Court this day.

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DATED: September 21, 2004.
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CERTIFICATE OF SERVICE

I hereby certify that I, Steve W. Berman, an attorney, caused a true and correct copy
of the foregoing PLAINTIFF STATE OF MONTANA’S JOINDER IN CLASS
PLAINTIFFS’ MOTION FOR LEAVE TO FILE REPLY BRIEF IN SUPPORT OF
PLAINTIFFS’ MOTION TO COMPEL B. BRAUN OF AMERICA to be served on all
counsel of record electronically on September 21, 2004, pursuant to Section D of Case
Management Order No. 2.

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